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          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH CARROLL,                             CASE NO.
CAROLYN HALL FISHER, CATHLEEN
ALSTON LATHAM and BRIAN JAY VAN                            1:20-cv-4809-TCB
GUNDY,
Plaintiffs,
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official capacity as
Secretary of State and Chair of the Georgia
State Election Board, DAVID J. WORLEY, in his
official capacity as a member of the Georgia
State Election Board, REBECCA N. SULLIVAN,
in her official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election Board,
and ANH LE, in her official capacity as a
member of the Georgia State Election Board,

Defendants.

          PLAINTIFFS’ RESPONSE TO MOTION TO
        INTERVENE OF THE DEMOCRATIC PARTY OF
         GEORGIA, INC., THE DSCC, AND THE DCCC

      Come now the Plaintiffs and submit the following response to the

motion to intervene of the Democratic Party of Georgia, Inc., the DSCC and

the DCCC (collectively, the “Proposed Intervenors”).

      The motion to intervene should be denied because the Proposed

Intervenors do not have a significantly protectable interest under the
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particular circumstances of this case, because their interests are adequately

represented by the State Defendants, and because their entry in this case as

parties is intended to delay its resolution until it is moot.

      I.       INTERVENTION AS OF RIGHT

               1.    C LAIMED I NTEREST TO I NTERVENE

      The Proposed Intervenors cite authority for the proposition that

political parties and party organizations have a legally cognizable interest

based upon their associational standing to challenge registration and election

laws and regulations they claim disenfranchise their voters. See Motion and

Brief of Proposed Intervenors, at pp. 8-10. This case is distinct from those

relied upon by the Proposed Intervenors because several of the Plaintiffs here

are presidential electors and have clear standing to challenge fraud and

illegality in the presidential election under Carson v. Simon, 978 F.3d 1051

(8th Cir. 2020), in which presidential electors were the plaintiffs. Regarding

the injury-in-fact requirement, the Eighth Circuit held:

      As candidates, the Electors argue that they have a cognizable
      interest in ensuring that the final vote tally accurately reflects the
      legally valid votes cast. An inaccurate vote tally is a concrete and
      particularized injury to candidates such as the Electors. The
      Secretary’s use of the consent decree makes the Electors’ injury
      certainly-impending, because the former necessarily departs from
      the Legislature’s mandates. Thus, the Electors meet the injury-in-
      fact requirement.

Id. at 1058. The Eighth Circuit held the Elector plaintiffs also met the

causation and redressability requirements of standing:

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      Next, the Electors meet the causal-connection requirement because
      the injury flows from the challenged conduct (the Secretary’s
      policy). And, even though the Secretary and the Alliance do not
      appear to challenge the redressability requirement, it is likely that
      the requested relief (an injunction) will redress the injury (an
      inaccurate vote tally) because the former will mitigate the latter.

Id. Therefore, the Elector plaintiffs had constitutional standing and were

found to have prudential standing as well.

      The Proposed Intervenors are not presidential Electors and therefore

do not meet the injury-in-fact, causation, or redressability elements of

standing to be considered under Rule 24 intervention standards. Chiles v.

Thornburgh, 865 F.2d 1197, 1212–13 (11th Cir. 1989), citing, inter alia,

Donaldson v. United States, 400 U.S. 517, 531, 91 S.Ct. 534, 542, 27 L.Ed.2d

580 (1971); Howard v. McLucas, 782 F.2d 956, 959 (11th Cir.1986); Athens

Lumber Co., Inc. v. Federal Election Commission, 690 F.2d 1364, 1366 (11th

Cir.1982) (“[an interest under Rule 24(a)(2) means a “significantly protectable

interest . . . for an intervenor's interest must be a particularized interest

rather than a general grievance that requires evaluation of standing cases. . .

that are relevant to help define the type of interest that the intervenor must

assert.”). Here, the Proposed Intervenors have not demonstrated that their

interests would be substantially impaired if they were not permitted to

intervene.




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      The DSCC is the Democratic Senatorial Campaign Committee and the

DCCC is the Democratic Congressional Campaign Committee. They are the

Proposed Intervenors under a variant of the Willie Sutton Rule - that’s where

the money is. Yet having the money to finance a litigation war across the

United States does not without more establish a concrete interest sufficient

to support standing. This litigation concerns a presidential election. The

Proposed Intervenors did not nominate former Vice President Joe Biden for

President. That was the Democratic Party of the United States, which is not

a Proposed Intervenor. Jacobson v. Florida Secretary of State, 974 F.3d 1236,

1250-1252 (11th Cir 2020).

      Finally, the authorities that the Proposed Intervenors cite to in their

Motion all deal with future elections and the effect of election laws and

procedures on their prospects in such elections. This case stands on a

different footing and should be analyzed according to its particular

circumstances. See e.g. Hunt v. Washington State Apple Advert. Comm'n, 432

U.S. 333, 343 (1977)(“[if] the association seeks a declaration, injunction, or

some other form of prospective relief, it can reasonably be supposed that the

remedy, if granted, will inure to the benefit of those members of the

association actually injured.”). Unlike the prospective relief sought in the

cases cited by the Proposed Intervenors, the relief sought in this case is

retrospective. The candidates and their parties have finished campaigning


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and their voters have voted. Therefore, the Proposed Intervenors’

associational standing analysis no longer pertains. See e.g. Donald J. Trump

for President, Inc. v. Cegavske, No. 220CV1445JCMVCF, 2020 WL 5626974,

at *4 (D. Nev. Sept. 18, 2020)(relief sought on behalf of an association’s

member voters that “no more directly and tangibly benefits [them] than it

does the public at large” insufficient to confer standing).

      The Proposed Intervenors obviously have a strong rooting interest in

the outcome of the presidential election, but no matter how ardent their

interest may be in promoting their preferred candidate, it is not enough to

establish the significantly protectable interest required to warrant

intervention in this case under Rule 24. Jacobson, id.

      The certification of statewide presidential election results lies with the

Secretary of State and the Governor. The litigation over the propriety of this

act also lies with them. Not everyone in the country who cares about the

outcome, or even an association of such partisans, is entitled to intervene in

this case.

             2.   T IMELINESS

      Given the short time that has passed since the filing of the Complaint

and the motion to intervene, the timeliness element of the intervention

analysis under Rule 19 would normally be satisfied. However, as Einstein

postulated, time is relative. This case is operating on an extraordinarily short


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timeframe because of the constitutionally imposed deadlines for the formal

vote of the Electoral College on December 14, 2020, and for the inauguration

of the President on January 20, 2021. What would certainly have been timely

in any other case is not timely here, despite the speed with which the

Proposed Intervenors have moved, because time is so short in this case.

            3.    P REJUDICE TO THE P LAINTIFFS

      Proposed Intervenors make a related claim that Plaintiffs would suffer

no prejudice from the proposed intervention. This is almost certainly not true,

as it will be in the overwhelming interests of the Proposed Intervenors to

employ imaginative stratagems of delay and obstruction in order to run out

an already incredibly short clock.

            4.    I MPAIRMENT OF I NTERESTS

      The Proposed Intervenors wax indignant at the possibility that millions

of their supporters might be disenfranchised “by judicial fiat” if the Court

grants Plaintiffs the relief they seek. But the Court would only invalidate the

election and order de-certification if it were convinced by the evidence that

the election was so corrupted by fraud and illegality as to be repugnant to the

laws of Georgia and the Constitution of the United States. In that event, the

Proposed Intervenors could have no legitimate or legally cognizable interest

in imposing upon the Plaintiffs, the State of Georgia, or anyone else in

America an election result that was infected by fraud and corruption.


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      The Proposed Intervenors also contend that absent intervention they

might be forced to “divert resources to safeguard the certified statewide

results, thus implicating another of their protected interests.” The only

possible way they can divert resources to this purpose at this point is by

paying the six lawyers who have filed entries of appearance in this case to

intervene on their behalf. “[N]either [DSCC] nor [DCCC] explained what

activities the [they] would divert resources away from in order to spend

additional resources on … as precedent requires.” Jacobson at p. 1250

(collecting cases).

      The election campaign is over and there is no more political

campaigning to be done. Citing cases about campaign expenses is beside the

point. Both political parties have spent vast sums on their respective

campaigns. One of them is going to lose. Fearing that money might go to

waste if one loses is not a legally cognizable interest to support intervention.

Fearing that money might be lost if the election were set aside for fraud and

illegality is not a legally protectible interest either. As the 11th Circuit held

in Jacobsen, partisan interest alone is not enough to confer standing:

      An organization's general interest in its preferred candidates
      winning as many elections as possible is still a “generalized
      partisan preference[ ]” that federal courts are “not responsible for
      vindicating,” no less than when individual voters assert an interest
      in their preferred candidates winning elections. Gill, 138 S. Ct. at
      1933; see also id. at 1932 (rejecting a voter's “hope of achieving a
      Democratic majority in the legislature” as “a collective political


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      interest” that cannot establish standing). Harm to an organization's
      generalized partisan preferences describes only “a setback to [its]
      abstract social interests,” which is insufficient to establish a
      concrete injury in fact. Havens Realty, 455 U.S. at 379, 102 S.Ct.
      1114; see also *1251 Arcia v. Fla. Sec'y of State, 772 F.3d 1335,
      1342 (11th Cir. 2014) (requiring “a concrete and demonstrable
      injury, not an abstract social interest” for organizational standing
      (alteration adopted) (internal quotation marks omitted)).

974 F.3d at 1250-1251.

            5.     A DEQUATE R EPRESENTATION

      Proposed Intervenors claim their interests would not be adequately

protected unless they are permitted to intervene. The State Defendants have

certified the election results. They are vigorously defending that decision

through highly capable and experienced attorneys from the State Attorney

General’s office. The Proposed Intervenors and their counsel should know,

because that office has beaten them before. See, e.g. Anderson v.

Raffensperger, ___ F.Supp.3d ___ (2020 WL 60480248 N.D. Ga.).

      The cases cited to support the right to intervene in this case largely

relate once again to upcoming elections, rather than a challenge to a

concluded election. A rooting interest is not sufficient.

      II.   PERMISSIVE INTERVENTION

      The Proposed Intervenors next argue in the alternative for permissive

intervention. Despite the usual liberal construction of permissive

intervention, the risk of prejudice to the Plaintiffs from delays instituted by

the Proposed Intervenors is excessive. If their claimed interest is no more

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than “to defend the constitutional right to vote of all of the eligible voters who

cast valid ballots in the November 3 general election,” brief, p. 19 (emphasis

added), they should intervene on the side of the Plaintiffs, because that is all

we seek as well. Unfortunately, the evidence shows strongly and clearly that

at a minimum tens of thousands of flagrantly illegal and fraudulent absentee

ballots were cast and counted, that the signature match requirement was

abolished de facto, and that enormous statistical anomalies are present in the

results that are almost impossible absent malign intervention through ballot

stuffing or hacking of the election system computers. Moreover, there is

evidence of illegal after-hours non-public counting of ballots at State Farm

Arena that further taints this election beyond redemption. The evidence

shows illegal and fraudulent ballots were counted in sufficient numbers to

place the outcome of the election in question. The election should therefore be

invalidated according to the most basic principles of election law. Why the

Proposed Intervenors want to prevent correction of this wrongdoing is

obvious but of course left unsaid in a fog of lofty rhetoric.

      Lastly, that the Proposed Intervenors desire to defend the Settlement

Agreement challenged in this case does not provide a sufficient nexus to the

claims of fraud and illegality in the gathering and tabulation of Presidential

votes to warrant their intrusion into the litigation of those claims. See

SOSS2, Inc. v. United States Army Corps of Engineers, 403 F. Supp. 3d 1233,


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1240 (M.D. Fla. 2019) (the claimed interest to justify intervention must “be

one which substantive law recognizes as belonging to or being owned by the

[intervenor].”). Even if the Court were to accept the Proposed Intervenors’

interest as a party to the Settlement Agreement as one in which permissive

joinder might be appropriate, intervention should be limited to the issues

concerning the validity of the Settlement Agreement rather than an open

door to dog-pile its resources upon the Plaintiffs in aid of the Defendants that

actually hold the legally cognizable interest in resisting the Plaintiffs’ other

claims. See United States v. S. Fla. Water Mgmt. Dist., 922 F.2d 704, 707

(11th Cir. 1991) (“A nonparty may have a sufficient interest for some issues

in a case but not others, and the court may limit intervention accordingly.”);

Howard v. McLucas, 782 F.2d 956, 960–61 (11th Cir.1986) (restricting

intervenors to participation in the single, remedial issue for which they had

“standing”).

                                CONCLUSION

        Wherefore, Plaintiffs respectfully request that the Motion to Intervene

of the Georgia Democratic Party, Inc., the Democratic Senatorial Campaign

Committee, and the Democratic Congressional Campaign Committee be

denied. In the alternative, Plaintiffs request that the Court limit intervention

to issues concerning the validity of the Settlement Agreement at issue in this

case.


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      Respectfully submitted, this 2nd day of December 2020.



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     The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                   /s Harry W. MacDougald
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                     CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing Plaintiffs’

Response to Motion to Intervene of the Democratic Party Of Georgia, the

DSCC, and the DCCC with the Clerk of Court using the CM/ECF system

which causes electronic service to be made upon all counsel of record.

      This 2nd day of December 2020.



                                     /s Harry W. MacDougald
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